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Marc Toberoff (MT 4862)
mtoberoff@toberoffandassociates.com
TOBEROFF & ASSOCIATES, P.C.
23823 Pacific Coast Hwy, Suite 50-363
Malibu, CA 90265
Telephone: (310) 246-3333
Facsimile: (310) 246-3101

Attorneys for Lawrence D. Lieber


                       UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF NEW YORK



 MARVEL CHARACTERS, INC.,                         Case No.: 1:21-cv-07955-LAK

                       Plaintiff,                 Hon. Lewis A. Kaplan
         v.
                                                  DEFENDANT’S ANSWER &
 LAWRENCE D. LIEBER,                              COUNTERCLAIM

                       Defendant.
                                                  DEMAND FOR JURY TRIAL

 LAWRENCE D. LIEBER,

                       Counterclaimant,
         v.

 MARVEL CHARACTERS, INC. and DOES
 1-10, inclusive,

                Counterclaim-Defendants.
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                                  NATURE OF THE ACTION

       1.      Defendant Lawrence D. Lieber (“Lieber” or Defendant”) admits only that he has

exercised his termination rights under the United States Copyright Act (the “1976 Act”) by

serving notices of termination on plaintiff Marvel Characters, Inc. (“MCI” or “Plaintiff”)

regarding comic book characters and stories he co-created, and that MCI has brought this civil

action for declaratory relief as set forth in its Complaint, but Defendant otherwise denies the

allegations in paragraph 1.

       2.      Defendant admits only that the district court in Marvel Worldwide, Inc. v. Kirby,

granted Marvel Worldwide, Inc. summary judgment against the statutory heirs of Jack Kirby, 777

F. Supp. 2d 720 (S.D.N.Y. 2011), aff’d in part, 726 F.3d 119 (2d Cir. 2013), and to the extent

relevant, if any, respectfully refers the Court to these decisions for their contents, but Defendant

otherwise denies the allegations in paragraph 2.

       3.      Defendant respectfully refers the Court to In re Marvel Entertainment Grp., 254

B.R. 817 (D. Del. 2000) for its contents, to the extent relevant, if any, but Defendant otherwise

denies the allegations in paragraph 3.

       4.      Defendant admits only that that MCI has brought this civil action for declaratory

relief pursuant to 28 U.S.C. § 2201, as set forth in its Complaint, but Defendant otherwise denies

the allegations in paragraph 4.

                                             PARTIES

       5.      Defendant lacks knowledge or information sufficient to form a belief as to the

truth of the allegations contained in paragraph 5, and on that basis denies the same.

       6.      Admitted.




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                                 JURISDICTION AND VENUE

       7.      Defendant admits only that Plaintiff purports to bring an action for declaratory

relief under 28 U.S.C. §§ 2201, et seq., and under the 1976 Act, 17 U.S.C. §§ 101, et seq.

Paragraph 7 otherwise contains conclusion of law as to which no responsive pleading is required.

       8.      Defendant admits only that Lieber is domiciled in New York; and otherwise,

Paragraph 8 contains conclusions of law as to which no responsive pleading is required.

       9.      Defendant admits that he resides in New York, New York, and that a substantial

part of the events alleged by MCI to give rise to this action occurred in this District. Paragraph 9

otherwise contains conclusions of law as to which no responsive pleading is required.

                                         ALLEGATIONS

       10.     Denied.

       11.     Denied.

       12.     Denied.

       13.     Denied.

       14.     Defendant lacks knowledge or information sufficient to form a belief as to the

truth of the allegations contained in paragraph 14 and on that basis denies the same. Defendant

respectfully refers the Court to all documents referred to in paragraph 14 for evidence of the

contents thereof.

       15.     Defendant admits that between approximately June 1 and August 4, 2021,

Defendant duly served six notices of termination on MCI and related entities, pursuant to 17

U.S.C. § 304 (c) and the regulations promulgated thereunder. Defendant otherwise respectfully

refers the Court to the documents referred to in paragraph 15 for evidence of the contents

thereof.



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       16.     Defendant admits the allegations in paragraph 16 only to the extent such

allegations accurately reflect the contents of documents, and respectfully refers the Court to such

documents for evidence of the contents thereof.

       17.     Defendant admits the allegations in paragraph 17 only to the extent such

allegations accurately reflect the contents of documents, and respectfully refers the Court to such

documents for evidence of the contents thereof.

       18.     Admitted.

                    COUNT I: ACTION FOR DECLARATORY RELIEF

                                [As to the Validity of All Notices]

       19.     Defendant re-alleges and incorporates by reference paragraphs 1-18 inclusive of

his Answer, as though fully set forth herein.

       20.     Admitted.

       21.     Denied.

       22.     Denied.

       23.     Denied.

       24.     Denied.

       25.     Defendant lacks knowledge or information sufficient to form a belief as to the

truth of the allegations contained in paragraph 25, and on that basis denies the same.

       26.     Admitted.

       27.     Defendant lacks knowledge or information sufficient to form a belief as to the

truth of the factual allegations contained in paragraph 27, and on that basis denies the same.

       28.     Defendant lacks knowledge or information sufficient to form a belief as to the

truth of the factual allegations contained in paragraph 28, and on that basis denies the same.



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Paragraph 28 otherwise contains conclusions of law as to which no responsive pleading is

required.

       29.     Defendant denies the allegations contained in paragraph 29, except admits that

MCI purports to seek a declaratory judgment pursuant to 28 U.S.C. § 2201.

                                     PRAYER FOR RELIEF

       A.         With respect to the relief requested in paragraph A. of the Prayer for Relief,

Defendant specifically and generally denies that MCI is entitled to any of the relief requested in

said paragraph.

       B.         With respect to the relief requested in paragraph B. of the Prayer for Relief,

Defendant specifically and generally denies that MCI is entitled to any of the relief requested in

said paragraph.

       C.         With respect to the relief requested in paragraph C. of the Prayer for Relief,

Defendant specifically and generally denies that MCI is entitled to any of the relief requested in

said paragraph.

                                   AFFIRMATIVE DEFENSES

       Defendant hereby additionally alleges the following as affirmative defenses:

                               FIRST AFFIRMATIVE DEFENSE

                                     (Failure to State a Claim)

       1.      The Complaint fails to state a claim upon which the relief sought or any relief

could be granted.

                              SECOND AFFIRMATIVE DEFENSE

                                              (Laches)

       2.      Plaintiff’s claims are barred, in whole or in part, by the doctrine of laches.



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                                THIRD AFFIRMATIVE DEFENSE

                                           (Unclean Hands)

       3.        Plaintiff’s claims are barred, in whole or in part, by the equitable doctrine of

unclean hands.

                              FOURTH AFFIRMATIVE DEFENSE

                                        (Unjust Enrichment)

       4.        The Complaint and each purported claim therein is barred, in whole or in part, by

the equitable doctrine of unjust enrichment.

                                FIFTH AFFIRMATIVE DEFENSE

                                          (Claim Preclusion)

       5.        The Complaint and each purported claim therein is barred, in whole or in part, by

the doctrine of res judicata or claim preclusion.

                                SIXTH AFFIRMATIVE DEFENSE

                                          (Issue Preclusion)

       6.        The Complaint and each purported claim therein is barred, in whole or in part, by

the doctrine of collateral estoppel or issue preclusion.

                              SEVENTH AFFIRMATIVE DEFENSE

                                               (Duress)

       7.        Plaintiff’s claims are barred, in whole or in part, by the fact that any alleged

contract between the parties or their respective predecessors-in-interest is unenforceable and/or

void because of duress.




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                             EIGHTH AFFIRMATIVE DEFENSE

                                         (Statute of Frauds)

       8.      Plaintiff’s claims are barred, in whole or in part, by the fact that any alleged

contract between the parties or their respective predecessors-in-interest is unenforceable and/or

void because of the Statute of Frauds.

                                NINTH AFFIRMATIVE DEFENSE

                                    (Failure of Consideration)

       9.      Plaintiff’s claims are barred, in whole or in part, by the fact that any alleged

contract between the parties or their respective predecessors-in-interest is unenforceable and/or

void because the contract(s) lacked consideration.

                                TENTH AFFIRMATIVE DEFENSE

                                     (Statute of Limitations)

       10.     The Complaint and each purported claim therein is barred, in whole or in part, by

Plaintiff’s failure to bring such claims within the governing statute of limitations.

                           ELEVENTH AFFIRMATIVE DEFENSE

                                              (Waiver)

       11.     The Complaint and each purported claim therein is barred, in whole or in part, by

the doctrine of waiver.

                            TWELFTH AFFIRMATIVE DEFENSE

                                           (Acquiescence)

       12.     The Complaint and each purported claim therein is barred, in whole or in part, by

the doctrine of acquiescence.




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                          THIRTEENTH AFFIRMATIVE DEFENSE

                                         (Judicial Estoppel)

       13.      The Complaint and each purported claim therein is barred, in whole or in part, by

the equitable doctrine of judicial estoppel.

                          FOURTEENTH AFFIRMATIVE DEFENSE

                                        (Equitable Estoppel)

       14.      The Complaint and each purported claim therein is barred, in whole or in part, by

the doctrine of equitable estoppel.

                           FIFTEENTH AFFIRMATIVE DEFENSE

             (Defendant’s Termination Notices Not Invalidated by Technical Errors)

       15.      Under 17 U.S.C. § 304(c) and 37 C.F.R. § 201.10, Defendant’s Termination

Notices are not invalidated or curtailed due to technical errors or omissions, if any, since

Defendant’s intent to terminate all prior grants by Lawrence D. Lieber of his copyright interests

in all works listed in the Notices is made clear to Plaintiff in the Termination Notices timely

served on Plaintiff.

                           SIXTEENTH AFFIRMATIVE DEFENSE

                                      (Against Public Policy)

       16.      Any contract alleged in the Complaint which is contrary to public policy is

unenforceable, and any relief requested in the Complaint which is contrary to public policy

should not be granted.

                              ________________________________

       17.      The Complaint fails to state the claims for relief with sufficient particularity to

permit Defendant to discern and raise all appropriate defenses. Defendant may have additional



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affirmative defenses available to him, which are not now fully known or of which Defendant is

not fully aware. Defendant accordingly reserves the right to amend or supplement this answer

with additional affirmative defenses after the same have been ascertained.

       FOR THESE REASONS, Defendant prays that the Court dismiss all of Plaintiff’s

claim(s) and find for Defendant on Plaintiff’s Count One, and that Defendant be awarded costs,

including reasonable attorneys’ fees under Section 505 of the United States Copyright Act, and

pray for such other and further relief as this Court deems just and proper.

                                       COUNTERCLAIM

       Counterclaimant Lawrence D. Lieber (“Lieber” or “Counterclaimant”), for his

Counterclaim against Marvel Characters, Inc. (“MCI” or “Counterclaim-Defendant”), alleges as

follows:

                                  NATURE OF THE ACTION

       1.      Lawrence D. Lieber (“Lieber”) is a renowned comic book writer best known for

co-creating superhero characters, including but not limited to, “Ant-Man,” “Iron Man,” and

“Thor,” in various original comic book stories (the “Stories”), published in the 1960’s by MCI’s

alleged predecessors. The United States Copyright Act of 1976, 17 U.S.C. §304(c) (“Section

304(c)”), provides authors such as Lieber with the right to recover their fair share of the U.S.

copyright to their creative work, after a lengthy period, by statutorily terminating without cause

prior transfers of copyright within delineated time “windows.”

       2.      On June 1, 2021, June 3, 2021, June 4, 2021, and August 4, 2021, respectively,

Lieber properly availed himself of his termination rights under Section 304(c) of the Copyright

Act by serving MCI and their affiliates, within the prescribed window, with six notices of

termination (“Termination Notices”) regarding Lieber’s co-author share of the Stories based on



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his written material (the “Lieber Material”). The Termination Notices become effective in June –

August 2023. This Counterclaim principally seeks a declaratory judgment that Lieber’s

Termination Notices are valid and effective under the Copyright Act.

       3.      The Supreme Court clearly elucidated the objective of the Copyright Act’s

termination provisions:

       The principal purpose of the [termination right] was to provide added benefits to
       authors ... to make the rewards for the creativity of authors more substantial. More
       particularly, the termination right was expressly intended to relieve authors of the
       consequences of ill-advised and unremunerative grants that had been made before
       the author had a fair opportunity to appreciate the true value of his work product.
       That general purpose is plainly defined in the legislative history and, indeed, is
       fairly inferable from the text of § 304 itself.

Mills Music, Inc. v. Snyder, 469 U.S. 153, 172-73 (1985).

       4.      Congress recognized that publishers held far greater bargaining power and that,

consequently, authors commonly agreed to one-sided grants, precluding them from sharing in

their works’ success. Id. The results were often supremely unfair, as when a work proved to have

enduring commercial value but enriched only the publisher. Congress thus created termination

rights to “safeguard[] authors against unremunerative transfers” made before their works were

commercially exploited, and to give them a second chance to obtain a more equitable portion of

their works’ value when it is no longer conjectural. H.R. Rep. No. 94-1476, at 124; see also N.Y.

Times v. Tasini, 533 U.S. 483, 496 n.1 (2001) (recognizing Congress’ intent to adjust “the

author/publisher balance” by an “inalienable authorial right to revoke a copyright transfer”).

                                JURISDICTION AND VENUE

       5.      This is an action for declaratory relief brought under 28 U.S.C. §§ 2201, et seq.,

and under the Copyright Act of 1976, 17 U.S.C. §§ 101, et seq. This Court has federal question

subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1338(a).


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        6.      This Court has personal jurisdiction over the Counterclaim-Defendant MCI

because MCI is regularly doing business in the State of New York and in this district and

maintains contacts within the State of New York and this district.

        7.      Venue is proper in the United States District Court for the Southern District of

New York pursuant to 28 U.S.C. §§ 1391(b) and (c) and 1400(a), because MCI is conducting

business in this district and is subject to personal jurisdiction in this district.

                                               PARTIES

        8.      Counterclaimant Lawrence D. Lieber is an individual and a citizen of and resides

in the State of New York, in the County of New York, and is and at all times has been a citizen

of the United States.

        9.      Counterclaimant is informed and believes and based thereon alleges that

Counterclaim-Defendant MCI is a Delaware corporation, which has its principal place of

business in Burbank, California, and which regularly conducts significant business in the State of

New York.

        10.     Counterclaimant is informed and believes and based thereon alleges that the

fictitiously named Counterclaim-Defendants captioned hereinabove as Does 1 through 10,

inclusive, and each of them, were in some manner responsible or legally liable for the actions,

damages, events, transactions, and circumstances alleged herein. The true names and capacities

of such fictitiously named Counterclaim-Defendants, whether individual, corporate, associate, or

otherwise are presently unknown to Counterclaimant, and Counterclaimant will amend this

Counterclaim to assert the true names and capacities of such fictitiously named Counterclaim-

Defendants when the same have been ascertained. For convenience, each reference herein to

MCI shall also refer to the Doe Counterclaim-Defendants and each of them.



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       11.      Counterclaimant is informed and believes and based thereon allege that each of

the Counterclaim-Defendant and the Doe Counterclaim-Defendants was the agent, partner,

servant, employee, or employer of each other, and that at all times herein mentioned, each of the

Counterclaim-Defendant and the Doe Counterclaim-Defendants was acting within the course and

scope of such employment, partnership and/or agency and that each is jointly and severally

responsible for the damages hereinafter alleged.

                                 STATUTORY BACKGROUND

       12.      The United States Copyright Act of 1976, 17 U.S.C. § 101 et seq. (the “Copyright

Act”), provides an author with the inalienable right to recapture the copyright to the author’s

creative material, after a lengthy waiting period, by statutorily terminating without cause any

prior express or implied transfer of such copyright. Termination is easily carried out by serving

advance notice of termination on the original grantee or its successors and filing the notice with

the U.S. Copyright Office, within delineated time “windows.” 17 U.S.C. § 304(c).

       13.      Section 304(c) provides for the termination of a pre-1978 transfer of rights under

copyright by the author during a five (5) year period commencing fifty-six (56) years after the

date the author’s work first secured a statutory copyright (by registration or publication,

whichever is earlier). Id. § 304(c)(3). The requisite notice of termination sets forth the “effective

date” of termination, within the five-year termination “window,” when the previously transferred

rights under U.S. copyright will be recaptured by the author. Notice of termination may be

served by the author, or if the author is deceased, by the author’s statutorily defined heirs or

estate, at any time between ten (10) and two (2) years before the effective termination date. Id. §

304(c)(4)(A).

       14.      True “works made for hire” are the sole exemption from the Copyrights Act’s



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termination provisions. Id. § 304(c). Whether a work, created and published prior to January 1,

1978, is a “work made for hire,” is determined under and is defined in Section 26 of the 1909

Copyright Act. Pub. L. 60-349.

       15.     The termination right is the most important authorial right provided by the

Copyright Act, short of copyright itself. Congress was therefore very protective of this right and,

to that end, enacted a number of provisions to prevent any waiver or encumbrance of an author’s

termination interest. For instance, “[t]ermination of the [prior copyright] grant may be effected

notwithstanding any agreement to the contrary [.]” Id. § 304(c)(5).

       16.     Furthermore, “[h]armless errors in a [termination] notice that do not materially

affect the adequacy of the information required to serve the purposes of . . . section [304(c)] of

title 17, U.S.C. . . . shall not render the notice invalid.” 37 CFR § 201.10(e)(1).

       17.     Congress also anticipated that the exercise of an author’s termination right would

usually result in a new license by the author or author’s estate to the terminated grantee (here,

MCI). To that end, Congress provided that “grantee” with the exclusive opportunity to re-license

an author’s recaptured copyright “after the notice of termination has been served,” but before

“the effective date of the termination.” 17 U.S.C. § 304(c)(6)(D). The termination provisions

thus reflect a deliberate balance of competing interests by Congress.

       18.     Under the termination provisions, all “derivative works” created prior to a

termination notice’s effective termination date “may continue to be” distributed and exploited by

the grantee or grantee’s successor, just as before. 17 U.S.C. § 304(c)(6)(A). Lieber’s recovery of

his co-author share of the U.S. copyright to the Stories therefore does not prevent MCI and/or its

licensees from continuing to freely exploit prior derivative works, including films, television

series and merchandising.



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       19.     In addition, because Lieber co-authored the Stories, MCI and/or its licensees can

continue to freely exploit the Stories, including in new derivative works, even after the effective

termination date(s), subject only to a duty to account to Lieber for an equitable share of proceeds

therefrom, and this only in the unlikely event MCI does not enter into a preemptive new license

with Lieber regarding such works.

       20.     Lastly, because the Copyright Act has no extra-territorial application, all rights to

the Stories in all foreign territories, remain with MCI, notwithstanding the Termination Notices,

providing additional incentives for the parties to cooperatively work together in the future.

       21.     As a result, the Termination Notices, if held effective, will likely result in a new

license from Lieber to MCI, but one which more fairly reflects the time-tested market value of

Lieber’s creative material. Accordingly, the exercise of statutory termination rights does not

prevent the further exploitation of these works by MCI; it simply allows Lieber to fairly

participate in the financial benefits of his creative efforts, just as Congress intended. H.R. Rep.

No. 94-1476, at 124 (1976).

                    FACTS COMMON TO ALL CLAIMS FOR RELIEF

       22.     Lawrence D. Lieber is considered one of the great comic book creators, and

throughout his career he co-authored numerous original illustrated comic book stories that were

published by a variety of different publishers.

                         Lieber’s Creation of the Stories in 1962-1964

       23.     Between 1962 and 1964 (the applicable “Period”), Lieber co-created a number of

superhero characters, including but not limited to “Ant-Man,” “Thor,” and “Iron Man,” in the

original illustrated comic book Stories, co-authored by him, which are the subjects of Lieber’s

Termination Notices.



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       24.     Because “work for hire” is the only exception to the Copyright Act’s remedial

termination provisions, MCI attempts to rewrite history in asserting that the Lieber Material was

“work made for hire,” owned at inception by MCI’s alleged predecessors. This bears no relation,

however, to the facts or realities of comic book publishing in the relevant Period.

       25.     By 1959, comic book publishing was on the brink of bankruptcy, due in large part

to criticism in Fredric Wertham’s book, “Seduction of the Innocent,” the ensuing 1954 hearings

before the Senate Subcommittee on Juvenile Delinquency, and the resulting censorship imposed

by the “Comics Code Authority.” Subsequently, the market for comic books underwent a severe

contraction which endured well into the 1960s.

       26.     As such, the purported comic book publishing entities which MCI alleges are its

predecessor(s) from this Period (individually and collectively, “MCIPP”) were largely shell

companies, of no resemblance to the structured, established company Marvel is today.

       27.     In 1962-63, for instance, the MCIPP did not even have their own office and

consisted at most of one alleged employee with a small desk behind a partition in a room

occupied by others. By 1964, the MCIPP had at best a tiny one or two-room office, and very few

or no employees (depending on the MCIPP). The impecunious MCIPP fed the printing presses of

other entities with inexpensive comic book material purchased for publication from a variety of

“freelancers,” like Lieber, working from home on their own steam.

       28.     Lieber is informed and believes and based thereon alleges that after the Lieber

Material was purchased by one such entity, it was published by a different entity in varying

periodicals (e.g., Tales to Astonish, Vol. 1, Nos. 35-43 and 46-58; Journey Into Mystery, Vol. 1,

Nos. 83-104; Tale of Suspense, Vol. 1, No. 39; and Strange Tales, Vol. 1, Nos. 102-113).

       29.     Lieber is further informed and believes and based thereon alleges that the



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copyrights in these periodicals, containing the Stories, were registered with the United States

Copyright Office by and in the name of still different entities (e.g., Atlas Magazines, Inc. and

Vista Publications, Inc.). As such, there was little continuity or substance to the use or

participation of these revolving entities or MCIPP to support MCI’s conclusion that the Lieber

Material qualified as “work made for hire” under and as defined in the 1909 Copyright Act.

       30.     Notably, even the MCIPP’s contemporaneous copyright registrations did not list

or describe their copyrighted periodicals or the Stories therein as “works made for hire,” as was

common legal practice for copyright registrations of actual “works for hire.”

       31.     As a freelancer, Lieber wrote the Lieber Material used in the illustrated Stories,

co-authored by him, largely on his own and at his own expense. The MCIPP conspicuously

never entered into any employment or any other engagement agreement with Lieber.

       32.     Lieber was not employed by any MCIPP, either as a traditional employee or even

as an independent contractor.

       33.     Lieber was thus not guaranteed a salary, wage or compensation for his time or

services by any MCIPP, which purposefully avoided such legally binding financial obligations.

And because the MCIPP had no employment agreement with Lieber, the MCIPP also had no

legal right to control his creation of the Lieber Material, at his home, on his own time, and at his

own expense.

       34.     The MCIPP, by design, was also under no legal obligation to accept for

publication and pay for the material created by Lieber, or by any other freelancer. Accordingly,

like many comic book writers and artists during this time of economic uncertainty, Lieber

worked hand to mouth, at his own premises, using his own instruments and materials, and he

thereby bore the entire financial risk of creating the Lieber Material in question.



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       35.     Upon completion, Lieber submitted his material to the MCIPP. If the MCIPP

chose, in its sole discretion, to accept it for publication, it purchased the Lieber Material by the

page. The MCIPP did not pay for submitted pages that it rejected, in its sole discretion, nor did it

own such rejected material, underscoring that the nature of this was a purchase, as a matter of

law, subsequent to creation, and that the Lieber Material was not “work made for hire,” owned at

inception by an MCIPP.

       36.     Lieber is informed and believes and based thereon alleges that accordingly, the

back of MCIPP checks issued to buy the Lieber Material contained a printed legend, which

stated that by endorsement of the check, the payee acknowledges his assignment of the copyright

in his material—the legal opposite of a “work for hire.”

       37.     Once the MCIPP purchased the Lieber Material, it, of course, was free to do with

it what it pleased, including any alteration or additions thereto, and the copyright registration of

the periodicals containing the Stories co-authored by Lieber.

       38.     Given the above facts and circumstances, the Lieber Material was not “work-

made-for-hire” for any MCIPP under the 1909 Copyright Act.

              Lieber Exercises His Termination Rights Under the Copyright Act

       39.     On June 1, 2021, June 3, 2021, June 4, 2021, and August 4, 2021, respectively,

Lieber served by first class mail, postage prepaid, the Termination Notices, pursuant to the

Copyright Act, 17 U.S.C. § 304(c), on MCI and its affiliates, duly terminating all express or

implied grants or transfers by Lieber to the MCIPP of his copyright interest in the Stories. Copies

of these Termination Notices are attached hereto as Exhibit “A.”

       40.     The copyrights to the periodicals containing the Stories were renewed by MCI or

its alleged predecessor(s) with the United States Copyright Office, and such renewal registrations



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served to renew the copyrights to the constituent Stories.

       41.     The Termination Notices were drafted and served on MCI and related entities, and

submitted to the United States Copyright Office for recordation, all in full compliance with the

Copyright Act, 17 U.S.C. § 304(c), and the regulations promulgated thereunder by the Register

of Copyrights, 37 C.F.R. § 201.10.

       42.     The Termination Notices will terminate, on the respective effective termination

dates set forth therein, all operative prior grants or transfers by Lieber to any MCIPP of his

copyright interest as a co-author of the Stories.

       43.     On the effective termination dates, Lieber will duly recover ownership of his

copyright interest as a co-author of the Stories for their extended renewal terms.

                                           COUNT ONE

  (Declaratory Relief: Termination Notices Are Valid and Effective Under 17 U.S.C. § 304(c))

       44.     Lieber re-alleges and incorporates by reference paragraphs 1 through 43 of this

Counterclaim inclusive, as though fully set forth herein.

       45.     By reason of the foregoing facts, an actual and justiciable controversy has arisen

and now exists between the parties under federal copyright law, concerning the validity and

effect of the Termination Notices.

       46.     Lieber contends and MCI denies that the Termination Notices are valid and

effective under the Copyright Act, 17 U.S.C. § 304(c).

       47.     Lieber was never employed by MCI’s alleged predecessor(s) as either an

employee or as an independent contractor.

       48.     MCI’s alleged predecessor(s) therefore had no legal right to control Lieber’s

creation of the Lieber Material, and once completed, it had no legal obligation to pay Lieber for



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his material unless it accepted the material for publication, in its sole discretion.

        49.    The Lieber Material was therefore not created by Lieber at the “instance and

expense” of MCI’s alleged predecessor(s), and instead was purchased from Lieber subsequent to

his creation of the material on a freelance basis, at his own expense.

        50.    The Lieber Material, comprising his contribution to the Stories, was therefore by

no means “work made for hire” under and as defined in Section 26 of the 1909 Copyright Act.

Pub. L. 60-349.

        51.    A declaration of the Court is necessary and appropriate at this time so that the

parties may know their respective rights and obligations regarding the Termination Notices and

the Stories.

        52.    Accordingly, Lieber seeks, pursuant to 28 U.S.C. § 2201, a declaratory judgment

from this Court that his Termination Notices are valid and effective under the Copyright Act.

                                      PRAYER FOR RELIEF

        WHEREFORE, Lieber prays for a judgment against MCI as follows:

        1.     For a declaration that his Termination Notices are valid under the Copyright Act,

and as to the parties’ rights and obligations regarding the Stories;

        2.     For reasonable attorney’s fees and costs of suit; and

        3.     For such other and further relief as the Court deems just and equitable.

                                               Respectfully submitted,

Date: December 7, 2021                         By:           /s/ Marc Toberoff
                                                               Marc Toberoff
                                               TOBEROFF & ASSOCIATES, P.C.
                                               mtoberoff@toberoffandassociates.com
                                               23823 Pacific Coast Hwy, Suite 50-363
                                               Malibu, CA 90265
                                               Telephone: (310) 246-3333

                                               Attorneys for Lawrence D. Lieber

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                                    JURY TRIAL DEMANDED

        Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Defendant and

Counterclaimant Lawrence D. Lieber hereby demands a trial by jury on each claim for relief

and/or issue that is triable by a jury.

                                               Respectfully submitted,

Date: December 7, 2021                         By:           /s/ Marc Toberoff
                                                               Marc Toberoff

                                               TOBEROFF & ASSOCIATES, P.C.
                                               mtoberoff@toberoffandassociates.com
                                               23823 Pacific Coast Hwy, Suite 50-363
                                               Malibu, CA 90265
                                               Telephone: (310) 246-3333
                                               Facsimile: (310) 246-3101

                                               Attorneys for Lawrence D. Lieber




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